     Case 2:22-cv-02586 Document 1 Filed 04/19/22 Page 1 of 5 Page ID #:1




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 5
      Attorneys for Plaintiff
 6    BACARDI U.S.A, INC.
 7
 8                          UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10
11    BACARDI U.S.A, INC., a Delaware         ) Case No.:
      corporation,                            )
12                                            )
                   Plaintiff,                 )
13                                            ) COMPLAINT FOR DAMAGES
            vs.                               )
14                                            )
      AMERICAN AIRLINES, INC., a              )
15    Delaware corporation; and DOES 1        )
      through 10, inclusive,                  )
16                                            )
                   Defendants.                )
17                                            )
                                              )
18                                            )
                                              )
19
20          Plaintiff alleges upon information and belief as follows:
21
                                PARTIES AND JURISDICTION
22
23          1.    At and during all material times, plaintiff Bacardi U.S.A., Inc.
24
      (“Plaintiff”) was and now is a corporation organized and existing under the laws of
25
26    the State of Delaware.
27
                                               1
28                                  COMPLAINT FOR DAMAGES
     Case 2:22-cv-02586 Document 1 Filed 04/19/22 Page 2 of 5 Page ID #:2




 1          2.     Plaintiff is the shipper, owner, and/or otherwise had an interest in the
 2    cargo that is the subject of this complaint, and brings this action on its own behalf
 3
      and on behalf of all parties who are or may become interested in the subject shipment
 4
 5    as their respective interests may ultimately appear, including subrogated
 6
      underwriters.
 7
 8          3.     At and during all times hereinafter mentioned, Defendant American
 9
      Airlines, Inc. (“American Airlines”) was and now is a corporation organized and
10
      existing under the laws of the State of Delaware, and was and is a common carrier
11
12    of goods by air, and issues air waybills for the international carriage of cargo by air,
13
      and operates in, about and through this District.
14
15          4.     This Court has subject matter jurisdiction based upon 28 U.S.C. §1331
16
      in that this claim arises under the Convention for the Unification of Certain Rules
17
18    for International Carriage by Air done at Montreal opened for signature May 28,

19    1999, S. Treaty Doc. No. 106–45, at 27 (2000), 2242 U.N.T.S. 350., (the “Montreal
20
      Convention”).
21
22          5.     Defendant is subject to the personal jurisdiction of this Court by virtue
23
      of transacting business within and through this District, by making and/or issuing
24
25    the contracts of carriage through this District and by delivering the cargo which is
26    the subject of this complaint within this District.
27
                                                 2
28                                   COMPLAINT FOR DAMAGES
     Case 2:22-cv-02586 Document 1 Filed 04/19/22 Page 3 of 5 Page ID #:3




 1          6.     Venue is proper under 28 U.S.C. §1391 as Defendant transacts business
 2    within and/or through the District and a substantial part of the events or omissions
 3
      giving rise to the claim occurred in the District.
 4
 5                              FIRST CLAIM FOR RELIEF
 6                                   (Montreal Convention)
 7
 8          7.     On or about September 20, 2021, a cargo of 24 pallets containing 1680
 9
      cases of cognac (hereinafter the “Cargo”) was delivered to Defendant American
10
11    Airlines in good order and condition and suitable in every respect for the intended
12
      transit, which Defendant received, accepted, and agreed to transport by air from
13
      Paris, France to Los Angeles, California by air pursuant to air waybill no. 001-
14
15    39094392, for valuable consideration.
16
            8.     Defendant was the carrier of the Cargo, within the meaning of the
17
18    Montreal Convention.
19
            9.     While in the possession, custody and control of Defendant, six pallets
20
21    and three cases were lost or stolen.

22          10.    By reason of the premises, the Cargo was lost or stolen during
23
      international carriage by air, within the meaning of the Montreal Convention.
24
25          11.    By reason of the premises, Defendant breached and violated its
26
      common law and contractual duties and obligations as a common carrier and bailee
27
                                                 3
28                                   COMPLAINT FOR DAMAGES
     Case 2:22-cv-02586 Document 1 Filed 04/19/22 Page 4 of 5 Page ID #:4




 1    of the Cargo, was negligent and careless in the handling of the subject shipment and
 2    was otherwise at fault.
 3
            12.    Plaintiff performed all duties and obligations on its part to be
 4
 5    performed.
 6
            13.    Written notice was provided to Defendant within the time frame
 7
 8    required by the provisions of the Montreal Convention.
 9
            14.    Plaintiff has sustained damages as a result of the Cargo which was lost
10
      or stolen in transit while in the care of Defendant, no part of which has been paid,
11
12    although duly demanded, in the total amount of $65,820.72, subject to proof at trial,
13
      plus interest and costs.
14
15          WHEREFORE, Plaintiff prays for judgment against Defendants, and each of
16
      them, as follows:
17
18          1.     For damages in the amount of $65,820.72, and such additional sums

19    according to proof, including freight, duty and advance;
20
            3.     For costs of suit incurred herein; and
21
22          4.     For such other and further relief as the Court may deem proper.
23
            ///
24
25          ///
26
27
                                                4
28                                  COMPLAINT FOR DAMAGES
     Case 2:22-cv-02586 Document 1 Filed 04/19/22 Page 5 of 5 Page ID #:5




 1
 2      Date: April 19, 2022                    HILL RIVKINS BROWN &
                                                ASSOCIATES
 3                                              A Professional Law Corporation
 4
 5                                              By:      /s/ Adam C. Brown
 6
                                                      ADAM C. BROWN
                                                      Attorneys for Plaintiff
 7                                                    BACARDI U.S.A., INC.
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28                                COMPLAINT FOR DAMAGES
